        Case 1:18-cv-00068-GLR Document 1-9 Filed 01/09/18 Page 1 of 1



                                        Erien Frazier
                                      801 Pennsylvania Ave
                                     H~wn,MD21742
                          S. S. # 422~           I D.O.B.09/04"
                                                                                October 11, 2017

Trans Union
P.O. Box 2000
Chester, PA 19022

                      Final Request Pursuant    to 15 D.SC. !j 1681g(a)(1)

To whom it may concern:
I am writing in regard to your response to my initial request for my Full Consumer File
Disclosure. My request was very specific and I provided the exact sections of the FCRA which
require you to provide it to me (see copy of my original letter attached). Your response was not
correct in that you did not provide the Full Consumer File Disclosure as requested. I will once
again state that I am requesting my Full Consumer File Disclosure pursuant to 15 U.S.C. 9
 I68Ig(a)(I) to include all other such information listed specifically in my initial letter. No
 response by you other than providing the Full Consumer File Disclosure as required by the
 FCRA will be appropriate or accepted by me.
 My initial letter was my first request for the Full Consumer File Disclosure within the past 12
 months and there is no provision in the FCRA which allows you to charge me for it. I expect
 your full compliance with the law and for me to receive my Full Consumer File Disclosure in a
 timely manner as required by the FCRA. Your failure to do so will result in me initiating legal
 action against you to force compliance under the law. Your timely response is appreciated. Act
 accordingly.
 Once again as was provided with my initial request, I am enclosing a copy of my driver's
 license and Social Security Card for identification purposes. You are instructed to mask the first
 five digits of my Social Security Number in all writings you return to me.

  Thank you in advance for promptly satisfying this request.

  Thank You

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        .If
  Erien Frazier
                              '--=--~--
  Attached: Copies of my Social Security Card & Driver's License and initial request are attached
            Sent: USPS Certified Mail # 7016 2070 0000 6196 3927
            Return Receipt Requested
